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          From: "Druffel, Ginger K" <gkdruffel@wsu.edu>
             To: Brett Blankenship <4brettb@gmail.com>, "Blankenship, Brett"
                 <RegentBlankenship@wsu.edu>, "Cayanan, Arliegh Pamintuan"
                 <arliegh.p.cayanan@wsu.edu>, "Cerna, Enrique S" <regent.cerna@wsu.edu>, Enrique
                 Cerna <enriquecerna@msn.com>, "Redman, Heather" <RegentRedman@wsu.edu>, Heather
                 Redman <heather@flyingfish.vc>, Jenette Ramos <JR_JenetteRamos@icloud.com>, John
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                 "Powell, Lura J." <RegentPowell@wsu.edu>, Lura Powell <4lurajp@gmail.com>, Marty
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                 <kimly@amazon.com>, Lauren Shimer <lauren@pointnorthinc.com>, "Sylvia Hedrick"
                 <sylviah@stcu.org>, "Hoyt, Christine Rae" <christine.hoyt@wsu.edu>, "Schulz, Kirk"
                 <kirk.schulz@wsu.edu>, "Jacobsen, Desiree" <desiree@wsu.edu>
        Subject: Friday Regents Update
           Date: Fri, 20 Aug 2021 22:21:13 +0000
    Importance: Normal
   Attachments: August_20_2021_COVID_Regents_Update.pdf


Dear Regents,

Attached you will find a Regents update from President Schulz.

Thank you
Ginger

Ginger Druffel
Senior Executive Assistant to the President
  and Office Manager
Washington State University
(509)335-7932 – direct
(509)432-9019 - cell




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August 20, 2021

Regents —

Happy Friday! I wanted to provide you with my regular update and include some information
on some successes for WSU during this last week.

We had a convocation earlier today where we welcomed new Cougs to Pullman, have moved in
several thousand students into our residence halls, and are prepared for in-person classes to
start on Monday at all of our campus locations across Washington.

Currently, we are sitting at 94% of our new and returning students are vaccinated. Currently
this represents data on about 11,000 students and more continue to register each day across
the system. Starting next week, I will provide weekly updates for each campus location.
Additionally, we continue to update our webpages for the WSU system on COVID related
policies around vaccination requirements, indoor mask mandates and other major policy issues
- https://wsu.edu/covid-19/.

I want to provide an update on Coach Rolovich and our continued saga with vaccination with
him. I understand that this situation has made many of our alumni, fans, supporters, and
employees angry, embarrassed, and eager for the administration (and me personally) to show
some leadership. As a reminder — whatever penalties we impose on Coach Rolovich for
exercising the personal exemption will apply to every other employee at WSU who has also
exercised the personal exemption option.

As many of you know, this has been a significant topic in the Seattle Times —

   •   August 17 — Rolovich should tell us why he refuses the vaccine -
       https://www.seattletimes.com/opinion/rolovich-should-tell-us-why-he-refuses-the-
       vaccine/

   •   August 17 — WSU president reveals weak hand with student-only mandate -
       https://www.seattletimes.com/opinion/editorials/wsu-president-reveals-weak-hand-
       with-student-only-mandate/

   •   August 10 — How can state's highest-paid employee — more than $3M — be allowed to
       shirt vaccine mandate - https://www.seattletimes.com/opinion/editorials/how-can-
       states-highest-paid-employee-more-than-3m-be-allowed-to-shirk-vaccine-mandate/

   •   July 28 — Hold WSU coach accountable for refusal to vaccinate -
       https://www.seattletimes.com/opinion/editorials/how-can-states-highest-paid-
       employee-more-than-3m-be-allowed-to-shirk-vaccine-mandate/




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We worked closely with Governor Inslee on the recent vaccinate mandate for higher education
employees and felt that once the personal exemption was lifted that Coach Rolovich would
agree to the vaccine.

He informed Pat yesterday afternoon/evening that he intends to seek a religious exemption
to the vaccine mandate. To say that we are disappointed in this would be a severe
understatement.

We are currently working with Paradigm Four as a Crisis Management Consultant
(https://www.paradigmfour.com) for assistance with our communications and strategy around
announcing this decision. We have prepared a holding statement (which I have appended
below) for next week (or sooner if needed), and will be meeting Monday to finalize our
communications strategy around this. Coach Rolovich has been instructed to not discuss this
with the media or outside parties so that we (WSU) controls the messaging. This statement
may change substantially next week as we get additional feedback.

Prepared Statement (DRAFT) —

Draft statement — Friday, August 20, 2021 — 9 a.m.

Washington Governor Jay Inslee's decision on Wednesday to require that all school employees
be vaccinated against COVID-19 was the right thing to do for our students, faculty, staff, and
their families across the state. It is the step we need to take to help get students and teachers
safely back into the classroom this fall.

While thousands of Washington educators have already received the vaccine, some are unable
to because of legitimate medical concerns or sincerely held religious objections. I have the
greatest respect for those individuals whose religious convictions prevent them from taking the
vaccine. The Governor's order recognizes this and appropriately allows for religious exemptions
to the mandate.

That said, I am deeply disappointed that WSU's head football coach has opted to use the
exemption process. This was an opportunity for the coach to display leadership and he has fallen
short in the eyes of many in our state, including me.

Nearly 94 percent of students on the WSU Pullman campus who have declared their vaccination
status have received the COVID-19 vaccine so far. Our students understand that we all must do
our part to end this pandemic.

If you are not yet vaccinated, get your shot today and wear a mask indoors. We owe it to
ourselves, and we owe it to each other.

Kirk Schulz, President
Washington State University




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                        Attorney-Client Privilege
Let me know if you have any questions or concerns — send me a text message (509-339-9350)
and I will give you a call.

Regards,

Kirk




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                                                                                       WSU_00028443
